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                                                                                                  YAAKOV SAKS▪*
                                                                                                    JUDAH STEIN▪
                                                                                                 ELIYAHU BABAD▪
                                                                                               MARK ROZENBERG ▪
                                                                                               KENNETH WILLARD▪

                                                                                                      NJBar Admissions
                                                                                                ^ CT & NJ Bar Admissions
                                                                                                      ▪ NY Bar Admission
                                                                                           *Federal Court Bar Admissions
                                                                       AR, CT, CO, DC, IL, MI, MO, ND, NE, NM, TN, TX, WI
One University Plaza, Suite 620, Hackensack, NJ 07601| tel: 201.282.6500|fax: 201.282.6501|www.steinsakslegal.com


       May 24, 2022

       Via CM/ECF
       Hon. Ann M. Donnelly
       U.S. Courthouse, Eastern Dist. N.Y.
               RE:     Iskhakova v. Stewart's Shops Corp.
                       Case No.: 1:22-cv-01017-AMD-RLM
                       Motion to convert pre-motion hearing to telephonic


       Dear Judge Donnelly,

              We represent the plaintiff in the above matter, and write jointly with counsel for defendant
       Stewart's Shops Corp. to respectfully request that the pre-motion conference currently scheduled for
       May 26, 2022, at 10:30am be held telephonically.

               We thank Your Honor and the Court for its kind considerations and courtesies.


                                                                       Respectfully submitted,

                                                                       s/ Mark Rozenberg
                                                                       Mark Rozenberg, Esq.

       cc:    All Counsel of Record via ECF
